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                          UNITED STATES DTSTRICT COURT FOR
                          THE EASTERN DISTRICT OF MISSOURI
                                            DIVISION


Kenta Little                                      )
                                                  )          Complaint for a Civil Case
                                                  )
                                                  )
                                                  )
                                                  )
(Write the full name of each plaintiff                        Case No.
who is filing this coffiPlaint. If the            )
                                                              (to be assigned by Clerk of
                                                  )
names af all the plaintiffs cannot fit in                     District Court)
                                                  )
the space above, please write "see
                                                  )
attached" in the space and attach an
additional page with the full lkt of              )            Plaintiff requests trial by jury:

                                                                ffiv", f*o
                                                  )
names.)
                                                  )
v.                                                )
WalmarL Claims Services,                          )
T-'-
JlJU.                                             )
                                                  )
                                                  )
                                                  )
                                                  )
(Write the full name of each defendant.
                                                  )
The caption must include the names of
                                                  )
all of the parties. Fed. R. Civ. P. 10(a).
                                                  )
Merely listing one party and writing "et
                                                  )
al." is insufficient. Attach additional
                                                  )
sheets if necessary.)




                                     sryIL coMPI"arNT
                                             NATICE:

 Federal Rule af Civil Pracedure 5.2 addresses the privaq, and security concerns resulting from
public access ta electronic court files. Under this rule, papers liled with the court should not
 contain: an individual's /ull social security number or Jull hirth date, the full name of a person
 known to be a minor, or a complete financial accottnt nurnber. A filing may inc{ude only: the last
four digits of a social security number, tlte year oJ'an individual's birth, a minor's initials, and the
 lastfour digits of afinancial account number.

Except as noted in this form, plaintiff'need not send exhibits, ffidavits, grievance or witness
statements, or any other materials to the Clerk's Office with this complaint.

In order for your complaint to be Jiled, it must he accompanied by the Jiling .fee or an
application to proceed without prepayingfees or cosls.
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I.    The Parties to This Complaint

      A.     The Plaintiff(s)

      Provide the information below for each plaintiffnamed in the complaint. Attach
      additional pages if needed.

             Name                  KenLa Litt1e
             Street Address        601 W Washington St.
             City and County       Vandalia, MO
             State and Zip Code
                                   633 82

             Telephone Number      646 975-8355
             E-mail Address        kenta. g. 1itt.le@gmaiI . com




      B.     The Defendant(s)

      Provide the information below for each defendant named in the complaint, whether the
      defendant is an individual, a government agency, an organization, or a corporation. For
      an individual defendant, include the person's job or title (if known). Attach additional
      pages ifneeded.




      DefendantNo. 1

             Name                  Walmart Claims Servicee lnc
             Job or Title          Claims Services
             Street Address        P. O. Box 14731"

             City and County       Lexington, KY
             State and Zip C.ode   40572
             Telephone Number      800-527-0556+91835
             E-mailAddress         macie. thao@walmart . com


              (If more than one defendant is nametl in the complaint, attach an additional
              page providing the same inJbrmation for each qdditional dejendant" If you are
              suing far violation ot'your civil rights, you must state whether you are suing
              each dejbndant in an qfficial capacity, individual capacity-, or both.)




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II.   Basis for Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only three
      types of cases can be heard in federal court. Provide the information for this case,
      (Include all information that applies to your case)


      A.      Federal question
      List the specific federal statutes, federal treaties, and/or provisions of the United States
      Constitution that are at issue in this case.

      2L USC 342: Adulterated food




      B.     $uit *gainst the Federal Government, a federal official, or federal agency
      List the federal officials or federal agencies involved if any.




      C.      Dlversity of Citizenship
      These are cases in which a citizen of one State sues a citizen of another State or nation,
      and the amount at stake is more than $75,000. In a diversity of citizenship case, no
      defendant may be a citizen of the same State as any plaintiff.


              1.     The Plaintiff(s)


                      The plaintiff, (name)           Kenta Litt.le              , is a citizen of the
                      State of   (name)                 Missouri

                     (If more than one plaintiff k named in the complaint, attach en additional
                     page providing the same information for each additional plaintiff.)




                                                  3
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           2.     The Defendant(s)

           If the defendant is an individual


                  The defendant, (name)                                               , is a citizen


                  of the State of (name)                                            Or is a citizen

                  of (foreign nation)


           If the defendant is a corporation

                  The defendar*, (name)        Walmart Claims Services, Jnc

                  is incorporated under the laws of the State of (name)

                                    Missouri                     , and has its principal place of


                  business in the State af (name)                Kentucky                        Or

                  is incorporated under the laws of the State of (foreign nation)


                                                                   , and has its principal place


                  ofbusiness in(name)


                  (If more than one defendant is nnmed in the complaint, attach an
                  additional page providing the same informatian for each additional
                  defendant.)


           3.     The Amount in Controversy

           The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
           owes or the amount at stake----is more than $75,000, not counting interest and
           costs ofcourt, because (explain):

           Because of medical injur:ies sustained my the
           plaintiff due to this incident, including but not
           limj ted to exacerbated brain injury and exacerbated
           mental health conditions (seeking 10 million USD in
            damaqes),




                                               4
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ilI.   Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.


Your statement of claim rrrust include all of the following information:

       1-       What happened to you?
       2.       When did it happerr?
       3.       Where did it happen?
       4.       What injuries did you suffer?
       5.       What did each defendant personally do, or fail to do, to harm you?
1. I consumed expired product that I purchased from the
   defendant.
2. June 19, 2A24
3. 601 IrI Washingt.on St. Vandalia, MA 62282
4. Exacerbated brain injury and exacerbated mental health
   conditions "
5. The defendant failed to comply with Missouri Revj-sor of
   StatuLes tRSMo) 537.760 to 537.7 55 which lead to the
   injuries I continue to suffer from.




w.     Relief

        State briefly and precisely what damages or other relief you want from the Court, Do
        not make legal arguments.
        f want 10 million USD in damagies.



                                                  5
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           Do you claim the wrongs alleged in your complaint are continuing to occur now?

                                              ve'ffi No n
                  Do you claim actual damages for the acts alleged in your complaint?

                                              vesffi No n
                             Do you claim punitive monetary damages?

                                              v.rffi No n
    If you indicated that you claim actual damages or punitive monetary damages, state the
    amounts claimed and the reasons you claim you are entitled to recover these damages.
         The amount of 10 million USD for exacerbaLed brain
         injuries and exacerbated mental health condj-tions.




Y        Certifieation antl Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certifr to the best of my
         knowledge, information, and belief that this complaint: (1) is not being presented for an
         improper purpo$e, such as to harass, cause unnecessary delay, or needlessly increase the
         cost of litigatiou (2) is supported by existing law or by a nonfrivolous argument for
         extending, modiffing, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support
         after a reasonabie opportunity for further investigation or discovery; and (4) the
         complaint otherwise complies with the requirements of Rule 11.

         I agree to provide the Clerk's Office with any changes to my address where case-related
         papers may be served. I unclerstand that my failure to keep a current address on file with
         the Clerk's Office may result in the dismissal of rny case.




          I declare under penaltv of perjury that the foregoing is true and correct.




                                signed thi$
                                              =-U=., arv rt,,S"4ti'*?1,e4 ., ?a *.

                                Signature of Plaintiff(s)


                                                             I                  €-


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